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Federal Trade Commission
600 Pennsylvania Avenue, NW
Washington, OC 20580

: Related Decuments:
For Release: June 11, 2001

FTC Chairman Timothy J. Muris Appoints Senior Staff

Federal Trade Commission Chairman Timothy J. Muris, with the
concurrence of his fellow Commissioners, has named a senior staff
team with extensive experience in the private sector, in academia,
and at the FTC.

Joseph J. Simons, Director of the Bureau of Competition, is
rejoining the Commission from a partnership with Clifford Chance
Rogers & Wells LLP. Previously at the Commission, Simons was
the Bureau's Associate Director for Mergers in 1989 responsible for
supervising Numerous merger investigations, and previous to that,
the Assistant Director for Evaluation overseeing analysis of all of
the Competition Bureau's nonmerger matters. Along with a former
chief economist of the Department of Justice's "DOJ" Antitrust
Division, Simons developed a technique for applying the market
definition test of the DOJ/FTC Horizontal Merger Guidelines,
which has been adopted and used widely by both the Antitrust
Division and the FTC, and also endorsed by the 8th Circuit Court of
Appeals.

J. Howard Beales Il, Director of the Bureau of Consumer
Protection, previously served at the Commission from 1977 to 1987
in positions ranging from Associate Director for Policy and
Evaluation, Acting Deputy Director, and Assistant to the Director in
the Bureau of Consumer Protection to economist in the Bureau of
Economics. During his tenure, he was instrumental in developing
Commission policies that prevail today including, the Deception
Policy Statement, the Advertising Substantiation Policy Statement.
He also was instrumental in developing the Credit Practices Rule.
Most recently, Beales was an associate professor of strategic
management and public policy at The George Washington
University.

David Scheffman, Director of the Bureau of Economics, served
under five past FTC Chairmen in various senior positions between
1979 and 1988, including as Director of the Bureau of Economics.
Scheffman has a Ph.D. in economics from M.I.T, and has held a
number of academic appointments, including as a chaired professor
in the business schoo] at Vanderbilt University. Scheffman has DEPOSITION
authored a number of books and articles, including competition EXHIBIT
analysis, has served as an economic expert in litigation matters for Beales 1

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both plaintiffs and defendants, and as a consultant to the legislature
of the State of Alaska in connection with British Petroleum's
attempted acquisition of ARCO Alaska. Scheffman will assume his
responsibilities as of June 25.

William E. Kovacic, General Counsel, returns to the FTC from a
professorship at The George Washington University Law School
where he has been a faculty member since 1999. From 1979 to
1983, he worked at the FTC, first with the Bureau of Competitions
Pianning Office and later as an attorney advisor te Commissioner
George W. Dougias. After leaving the FTC, Kovacic was an
associate with the Washington D.C. office of Bryan Cave, where he
practiced in the firm's antitrust and government contracts
departments until joining George Mason University School of Law
in 1986. Earlier in his career, he served for one year on the majority
staff of the Subcommittee on Antitrust and Monopoly of the U.S.
Senate Committee on the Judiciary.

Anna H. Davis, Director of Congressional Relations, previously
served at the Commission between 1984 and 1989 and is a veteran
of the FTC's Office of Public Affairs, the Division of Advertising
Practices and the office she will direct. In 1989, Davis left the FTC
to become director of the Office of Legislative Affairs at the U.S.
Department of the Treasury. Most recently, Davis was Director of
JD Career Services at Georgetown University Law Center.

Other selections by Chairman Muris inciude: Rosemarie Straight to
continue as Executive Director; Don Clark to continue as Secretary;
Dan Caprio, Special Assistant to Commissioner Swindle, to serve as
acting Director of Congressional Relations until Davis assumes her
role full-time in early July; and Lois Greisman to be Acting
Executive Assistant.

MEDIA CONTACT:
Cathy MacFarlane,
Office of Public Affairs
(202) 326-2180

(Staff Appointments)

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